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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS

 IN RE:                                        §
                                               §      Bankruptcy Case No. 25-30155
 ALLIANCE FARM AND RANCH, LLC                  §

         CREDITOR DUSTIN ETTER’S REPLY TO DEBTOR’S OBJECTION TO
                     CREDITOR’S MOTION TO DISMISS

         Creditor Dustin Etter files this Reply to Debtor’s Objection to Creditor’s Motion to

Dismiss.

1.       Creditor’s Motion contained a certificate of service and was e-served on Debtor’s

counsel through the Court’s ECF/CM system. There is no dispute that Debtor’s counsel

actually received the Motion. Debtor obviously has the Motion because Debtor responded

to it.

2.       It is not true that Creditor has no interest in this case. Creditor has claims against

the Debtor for money and for property, both directly and derivatively, as outlined in

Creditor’s Motion to Dismiss and its attachments.

3.       Debtor does not dispute that Debtor has not been diligent in the prosecution of this

case. Absent material action and effort on behalf of Debtor to diligently prosecute this

case, it should not be allowed to simply linger on.

                                           PRAYER

4.       It is therefore requested and prayed that the Court dismiss this case and grant

Etter such other and further relief to which he may be justly entitled.




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                                          Respectfully submitted,

                                          IRELAN MCDANIEL, PLLC

                                               /s/ Noah Meek
                                          By:______________________________
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                                                 Phone: (713) 222-7666
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                                          ATTORNEYS FOR CREDITOR
                                          DUSTIN ETTER


                              CERTIFICATE OF SERVICE

      This is to certify that on March 14, 2025, a true and correct copy of this instrument
was served upon all parties VIA the Court’s CM/ECF System in compliance with the
Federal Rules of Civil Procedure.

 Timothy L. Wentworth                         Len E. Walker
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 VIA Email: twentworth@okinadams.com          Houston, Texas 77057

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 Houston, Texas 77002                         4909 Bissonnet St., Suite 100
                                              Houston, TX 77401
                                              VIA Email: thaison@rhhlawgroup.com

                                                    /s/ Noah Meek
                                                   _____________________________
                                                   Noah Meek




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